     Case 6:16-cv-00039 Document 26 Filed in TXSD on 11/01/17 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION

IN RE:                                §
                                      §
BUCCANEER RESOURCES, L.L.C., et al.,  §             CASE NO. 14-60041 (DRJ)
                                      §                   CHAPTER 11
      Debtors                         §
                                      §
                                      §
MERIDIAN CAPITAL INTERNATIONAL FUND, §
MERIDIAN CAPITAL CIS FUND,            §
FRED M. TRESCA, RANDY A. BATES, AND §
BRANTA II, L.L.C.                     §
                                      §
      Appellants and Cross-Appellees, §             CIVIL ACTION NO. 16-00039
                                      §             CIVIL ACTION NO. 16-00053
VS.                                   §             (CONSOLIDATED UNDER 16-00039)
                                      §
CURTIS BURTON,                        §
                                      §
      Appellee and Cross-Appellant    §

    DESIGNATION OF LEAD COUNSEL FOR MERIDIAN CAPITAL CIS FUND AND
  MERIDIAN CAPITAL INTERNATIONAL FUND, APPELLANTS AND CROSS-APPELLEES

TO THE HONORABLE HAYDEN HEAD,
SENIOR UNITED STATES DISTRICT JUDGE:

         Pursuant to the District Court’s Order of October 31, 2017 (Dkt # 24), Appellants and

Cross-Appellees Meridian Capital International Fund, Meridian Capital CIS Fund (collectively

“the Meridian Parties”) designate Tom Kirkendall as their lead counsel in this consolidated civil

action, which is an appeal from adversary proceeding 15-06006 that was filed in connection with

the Buccaneer Resources, LLC, et al, chapter 11 cases. Those chapter 11 cases were consolidated

under chapter 11 case no. 14-60041 in the Victoria Division of the U.S. Bankruptcy Court for

the Southern District of Texas (collectively “the Buccaneer chapter 11 case”).



DESIGNATION OF LEAD COUNSEL FOR THE MERIDIAN ENTITIES                                      PAGE 1
     Case 6:16-cv-00039 Document 26 Filed in TXSD on 11/01/17 Page 2 of 3



       Although the Buccaneer chapter 11 case was filed in the Victoria Division of the

Southern District, the Bankruptcy Court conducted all hearings and proceedings in the

Buccaneer chapter 11 case in Houston for the convenience of creditors and parties-in-interest.

       The debtors in the Buccaneer chapter 11 case are being liquidated under a confirmed plan

of reorganization. None of the debtors in the Buccaneer chapter 11 case are parties to this

appeal. The appeal and underlying adversary proceeding reside in federal court because certain

of the issues in the adversary proceeding and appeal involve Bankruptcy Court Orders approved

in the Buccaneer chapter 11 case and property of the estate in the Buccaneer chapter 11 case.

       This appeal is fully briefed by all parties and awaiting oral argument.

       Counsel for the other parties to this appeal are set forth in the certificate of service of this

designation.

                                       Respectfully submitted,

                                       /s/ Tom Kirkendall
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                                       AND MERIDIAN CAPITAL INTERNATIONAL FUND,
                                       APPELLANTS AND CROSS-APPELLEES




DESIGNATION OF LEAD COUNSEL FOR THE MERIDIAN ENTITIES                                           PAGE 2
     Case 6:16-cv-00039 Document 26 Filed in TXSD on 11/01/17 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing pleading was served by
electronic transmission to the following counsel via email and the Court’s ECF system on the
1st day of November, 2017.

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                                                 /s/ Tom Kirkendall
                                                 Tom Kirkendall


DESIGNATION OF LEAD COUNSEL FOR THE MERIDIAN ENTITIES                                 PAGE 3
